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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                             Chapter 11

    LORDSTOWN MOTORS CORP., et al.,                                   Case No. 23-10831 (MFW)

                                      Debtors. 1                      (Jointly Administered)
                                                                      Obj Deadline: March 4, 2024 at 4:00 p.m. (ET)
                                                                      Hearing Date: Only if objections are filed

  NOTICE OF SIXTH MONTHLY FEE APPLICATION OF BAKER & HOSTETLER
LLP, AS SPECIAL LITIGATION AND CORPORATE COUNSEL FOR THE DEBTORS,
 FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
   FOR THE PERIOD OF DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

       PLEASE TAKE NOTICE that Baker & Hostetler LLP (“B&H”) has filed the attached
Sixth Monthly Fee Application of Baker & Hostetler LLP for Allowance of Compensation and
Reimbursement of Expenses as Special Litigation and Corporate Counsel for the Debtors for the
Period from December 1, 2023 through December 31, 2023 (the “Application”) with the United
States Bankruptcy Court for the District of Delaware, 824 North Market Street, Wilmington, DE
19801 (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE objections, if any, to the Application must be
made in accordance with the Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses for Chapter 11 Professionals and Committee Members, entered July
25, 2023 [D.I. 181] (the “Interim Compensation Order”) and must be filed with the Clerk of the
Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, DE 19801, and be served
upon and received by (a) counsel to the debtors and debtors in possession in the above-captioned
cases (collectively, the “Debtors”), (i) White & Case LLP, 200 South Biscayne Boulevard, Suite
4900, Miami, FL 33131 (Attn: Thomas E. Lauria (tlauria@whiebase.com), Matthew C. Brown
(mbrown@whitecase.com), and Fan B. He (fhe@whitecase.com)); (ii) White & Case LLP, 1221
Avenue of the Americas, New York, NY 10020 (Attn: David M. Turetsky
(david.turetsky@whitecase.com)); (iii) White & Case LLP, 111 South Wacker Drive, Suite 5100,
Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)); and (iv) White & Case LLP,
555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner
(rkampfner@whitecase.com)); (b) proposed counsel to the Debtors, Womble Bond Dickinson
(US) LLP, 1313 North Market Street, Suite 1200, Wilmington, DE 19801 (Attn: Donald J.
Detweiler (don.detweiler@wbd-us.com) and Morgan L. Patterson (morgan.patterson@wbd-
us.com)); (c) counsel to the Official Committee of Unsecured Creditors, (i) Troutman Pepper
Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE

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 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address 27000
Hills Tech Ct., Farmington Hills, MI 48331.
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19801 (Attn: David M. Fournier (david.fourner@troutman.com), Marcy J. McLaughlin Smith
(marcy.smith@troutman.com), and Tori L. Remington (tori.remington@troutman.com)); (ii)
Troutman Pepper Hamilton Sanders LLP, 3000 Tow Logan Square, 18th & Arch Streets,
Philadelphia, PA 19103-2799 (Attn: Francis J. Lawall (francis.lawall@troutman.com)); (iii)
Troutman Pepper Hamilton Sanders LLP, 875 Third Avenue, New York, NY 10022 (Attn:
Deborah Kovsky-Apap (deborah.kovsky@troutman.com)); and (iv) Troutman Pepper Hamilton
Sanders LLP, 4000 Town Center, Suite 1800, Southfield, MI 48075 (Attn: Sean P. McNally
(sean.mcnally@troutman.com)); (d) proposed counsel to the Official Committee of Equity
Security Holders, Morris James LLP, 500 Delaware Avenue, Suite 1500, Wilmington, DE 19801
(Attn: Eric J. Monzo, Brya M. Keilson); (e) proposed counsel to the Official Committee of Equity
Security Holders, (i) Brown Rudnick LLP, 7 Times Square, New York, NY 10036 (Attn: Robert
J.      Stark       (rstark@brownrudnick.com)          and       Bennet       S.      Silverberg
(bsilverberg@brownrudnick.com)), and (ii) Brown Rudnick LLP, One Financial Center, Boston,
MA 02111 (Attn: Matthew A. Sawyer (msawyer@brownrudnick.com)); (f) the Office of the
United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE
19801 (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@sdoj.gov)); (g) the Applicant, Baker
& Hostetler LLP, Key Tower, 127 Public Square, Suite 2000, Cleveland, OH 44114 (Attn: Michael
A. VanNiel (mvanniel@bakerlaw.com)) by no later than 4:00 p.m. (prevailing Eastern Time)
on March 4, 2024 (the “Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if any responses or objections to the Application
are timely filed, served and received in accordance with this notice, a hearing on the Application
will be held at the convenience of the Bankruptcy Court. Only those objections made in writing
and timely filed and received in accordance with the Interim Compensation Order and the
procedures described herein will be considered by the Bankruptcy Court at such hearing.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Compensation Order,
if no objection to the Application is timely filed, served and received by the Objection Deadline,
B&H may be paid an amount equal to the lesser of (i) 80 percent (80%) of the fees and 100 percent
(100%) of the expenses requested in the Application or (ii) 80 percent (80%) of the fees and 100
percent (100%) of the expenses not subject to an objection without the need for further order of
the Bankruptcy Court.

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Dated: February 13, 2024
Wilmington, Delaware

 /s/ Morgan L. Patterson
 WOMBLE BOND DICKINSON (US) LLP                    WHITE & CASE LLP
 Donald J. Detweiler (DE Bar No. 3087)             Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)             Matthew C. Brown (admitted pro hac vice)
 1313 North Market Street, Suite 1200              Fan B. He (admitted pro hac vice)
 Wilmington, Delaware 19801                        200 South Biscayne Boulevard, Suite 4900
 Telephone: (302) 252-4320                         Miami, FL 33131
 Facsimile: (302) 252-4330                         Telephone: (305) 371-2700
 don.detweiler@wbd-us.com                          tlauria@whitecase.com
 morgan.patterson@wbd-us.com                       mbrown@whitecase.com
                                                   fhe@whitecase.com
 Counsel to the Debtors and Debtors in
 Possession                                        David M. Turetsky (admitted pro hac vice)
                                                   1221 Avenue of the Americas
                                                   New York, NY 10020
                                                   Telephone: (212) 819-8200
                                                   david.turetsky@whitecase.com

                                                   Jason N. Zakia (admitted pro hac vice)
                                                   111 South Wacker Drive, Suite 5100
                                                   Chicago, IL 60606
                                                   Telephone: (312) 881-5400
                                                   jzakia@whitecase.com

                                                   Roberto Kampfner (admitted pro hac vice)
                                                   Doah Kim (admitted pro hac vice)
                                                   RJ Szuba (admitted pro hac vice)
                                                   555 South Flower Street, Suite 2700
                                                   Los Angeles, CA 90071
                                                   Telephone: (213) 620-7700
                                                   rkampfner@whitecase.com
                                                   doah.kim@whitecase.com
                                                   rj.szuba@whitecase.com

                                                   Counsel to Debtors and
                                                   Debtors in Possession




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WBD (US) 4879-8114-8325v1
